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Exhibit B
5/20/23, 7:11 PM Case 2:23-Cv-OF RoR aA asLOGUIPSH (ints nic BAe AW has, 4 gta.

From: jpv@mcandrewvuotto.com,
To: bryanageorge@verizon.net,
Subject: FW: Activity in Case 2:23-cv-01259-MMB NICHOLAS v. PLASTINO Affidavit of Service

Date: Fri, May 5, 2023 9:52 am
Attachments: Doc. 3 - AOS 4-6-23.pdf (78K)

Bryan:

| did not know at the time that we spoke that your client had already been personally served on April 6, 2023. Attached is
the filed affidavit of service.

| received your voicemail message from Wednesday. Please let me know if your client has a proposal to resolve this
matter.

Jonathan P. Vuotto, Esq.
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